Case 10-00038-elf         Doc 61 Filed 03/20/13 Entered 03/20/13 08:15:20                        Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:           THOMAS W. OLICK                           :        Chapter 13
                                                           :
                                  Debtor                   :        Bky. No. 07-10880 ELF
                                                           :

THOMAS W. OLICK,                                           :
                                                           :
                         Plaintiff                         :
                                                           :
                         v.                                :
                                                           :        Adv. No. 10-038
WILLIAM C. HOUSE,                                          :
                                                           :
                         Defendant                         :
                                                           :

                                               ORDER

        AND NOW, upon consideration of Plaintiff’s Motion for Entry of Default Judgment

(Doc. # 59) (“the Motion”), it is hereby ORDERED that:

1. The Motion is DENIED.1

2. The Defendant shall file an Answer to the Complaint on or before April 10, 2013.2




Date: March 20, 2013
                                              ERIC L. FRANK
                                              CHIEF U.S. BANKRUPTCY JUDGE


        1
                 The Motion is based on the faulty premise that the Defendant’s time to respond to the
Complaint has passed. In fact, the court granted the Defendant an extension of time to respond to the
Complaint, (see Doc # 13). The Defendant thenfiled a motion to dismiss the complaint (a de minimis) one
day after the deadline, Thus, entry of a default judgment for failure to respond to the Complaint would be
totally inappropriate.


        2
                  This court granted the Defendant’s motion to dismiss the complaint. After an appeal, the
district court affirmed in part, but reversed the dismissal of the Complaint as to the Plaintiff’s claims in
Counts I and III relating to the Defendant’s prior representation of the Plaintiff in the NASD proceedings.
Thus, it is appropriate for the court to set a deadline for the Defendant to file an answer to the complaint,
insofar as it has survived the motion to dismiss.
